Case 0:18-cv-60691-AOV Document 44 Entered on FLSD Docket 10/29/2018 Page 1 of 6



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                 Case No. 18-CV-60691-VALLE
                                      (CONSENT CASE)


  DEBORAH ARMSTRONG,
                Plaintiff,
  v.
  MSC CRUISES S.A.,
  f/k/a MSC CRUISES (USA) INC.,
                Defendant.
  __________________________________/
                            ORDER SETTING TRIAL AND
                    PRE-TRIAL SCHEDULE, REQUIRING MEDIATION

         THIS CAUSE came before the Court upon the parties’ consent to jurisdiction to

  authorize the undersigned Magistrate Judge to conduct all further proceedings in the case,

  including trial and entry of final judgment pursuant to 28 U.S.C. § 636(c). (ECF No. 29). On

  October 5, 2018, United States District Judge Beth Bloom transferred this case to the

  undersigned. (ECF No. 32). Thereafter, the parties filed a Joint Motion for Status Conference

  (the “Motion”), seeking to extend the trial date and pre-trial Deadlines. (ECF No. 38). The

  Court heard the Motion on October 29, 2018. (ECF Nos. 39 and 42). Having reviewed the

  record, the Motion, and the Court’s calendar, and having considered counsel’s arguments, it is

  hereby ORDERED AND ADJUDGED that the trial date and pre-trial deadlines are extended as

  follows:

         Trial will begin on Thursday, August 15, 2019 at 9:00 a.m. Calendar call will be held

  on Monday, August 12, 2019, at 2:00 p.m. No pre-trial conference will be held unless a party

  requests one, and the Court determines that one is necessary. Unless otherwise indicated by
Case 0:18-cv-60691-AOV Document 44 Entered on FLSD Docket 10/29/2018 Page 2 of 6



  subsequent order, the trial and all other proceedings in this case shall be conducted at the U.S.

  Courthouse, 299 E. Broward Boulevard, Fort Lauderdale, Florida. A courtroom designation

  will follow.

         The parties shall adhere to the following deadlines:

         March 22, 2019.       Parties disclose experts and exchange expert summaries or reports.

         April 5, 2019.        Parties exchange rebuttal expert witness lists and summaries or
                               reports.

         April 19, 2019.       All discovery, including expert discovery, is to be completed.

         May 10, 2019.         Parties must have participated in a settlement conference before
                               U.S. Magistrate Judge Patrick M. Hunt.

         May 31, 2019.         All pre-trial, Daubert, and dispositive motions are filed. Each
                               party is limited to filing one Daubert motion. If all evidentiary
                               issues cannot be addressed in a 20-page memorandum, the parties
                               may request leave to exceed the page limit. The parties are
                               reminded that Daubert motions must contain the Local Rule
                               7.1(a)(3) certification.

         June 14, 2019.        Parties must have completed mediation and filed a mediation
                               report within seven days of conducting mediation.

         June 28, 2019.        Parties submit joint pre-trial stipulation in accordance with Local
                               Rule 16.1(e), proposed jury instructions and verdict form, or
                               proposed findings of fact and conclusions of law, as applicable,
                               and motions in limine (other than Daubert motions). Each party is
                               limited to filing one motion in limine. If all evidentiary issues
                               cannot be addressed in a 20-page memorandum, the parties may
                               request leave to exceed the page limit. The parties are reminded
                               that motions in limine must contain the Local Rule 7.1(a)(3)
                               certification.

         Referral to Magistrate Judge for Settlement Conference. This case is hereby referred

  to U.S. Magistrate Judge Patrick M. Hunt for a settlement conference. The parties are to contact

  Judge Hunt’s Chambers to schedule the conference to be conducted by the date listed above,

  unless otherwise ordered by Judge Hunt or the undersigned.



                                                  2
Case 0:18-cv-60691-AOV Document 44 Entered on FLSD Docket 10/29/2018 Page 3 of 6



         Procedures for Discovery Motions. Discovery matters are handled on an expedited

  briefing schedule and with a shortened page limitation. Responses and replies to discovery

  motions are due no later than seven (7) days after a motion, or response, is filed. These deadlines

  are inclusive of the mailing days allotted by the Federal and Local Rules. Contrary deadlines

  that may appear on the Court’s docket or on reports generated by CM/ECF cannot modify these

  procedures. Any discovery motion and response, including the incorporated memorandum of

  law, shall not exceed ten (10) double-spaced pages. Any reply memoranda shall not exceed five

  (5) double-spaced pages.

         Discovery Deadlines Generally. The parties may stipulate to extend the time to answer

  interrogatories, produce documents, and answer requests for admissions. The parties shall not

  file with the Court notices or motions memorializing any such stipulation unless the stipulation

  interferes with the deadlines set forth above. Only stipulations that would interfere with the

  Court’s deadlines require approval by the Court. See Fed. R. Civ. P. 29. In addition to the

  documents enumerated in Local Rule 26.1(b), the parties shall not file notices of deposition with

  the Court. Strict compliance with the Local Rules is expected, particularly with regard to motion

  practice. See S.D. Fla. L.R. 7.1. Moreover, the parties are on notice that the Court enforces Rule

  37.

         Summary Judgment Motions. Strict compliance with Local Rule 56.1 is expected.

  Pursuant to Local Rule 56.1(a)(2), a statement of material facts must be supported by specific

  references to pleadings, depositions, answers to interrogatories, admissions, and affidavits on file

  with the Court. In the event a responding party fails to controvert a movant’s supported material

  facts in an opposing statement of material facts, the movant’s material facts will be deemed

  admitted. Local Rule 56.1(b). In the interest of judicial economy, in the interest of proper and



                                                   3
Case 0:18-cv-60691-AOV Document 44 Entered on FLSD Docket 10/29/2018 Page 4 of 6



  careful consideration of each party’s statement of material facts, and in the interest of

  determining matters on summary judgment on the merits, the Court hereby orders the parties to

  file any statements of material facts as follows:

     1. The moving party shall file a statement of material facts as a separate filing from a

         motion for summary judgment.

     2. Each material fact in the statement that requires evidentiary support shall be set forth in

         individually numbered paragraphs and supported by a specific citation. This specific

         citation shall reference pages (and paragraph or line numbers, if applicable) of the cited

         exhibit(s). When a material fact requires evidentiary support, a general citation to an

         exhibit, without a page number or pincite, is not permitted.

     3. Each exhibit referenced in the motion for summary judgment and/or in the statement of

         material facts must be filed on the docket. Exhibits that have already been filed on the

         docket need not be refiled. If a deposition transcript is referenced, a complete copy must

         be filed, including all exhibits. Within twenty-four (24) hours of filing a motion for

         summary judgment, the movant shall separately file an index of the cited exhibits that

         names each exhibit and references the docket entry at which that exhibit may be found.

     4. The responding party may file an opposing statement of material facts that responds to

         the moving party’s statement of material facts. A responding party’s opposing statement

         of material facts must specifically respond to each statement in the movant’s statement by

         setting forth each of the individually numbered paragraphs contained in the movant’s

         statement and after each paragraph, detail respondent’s response or opposition. By way

         of example:




                                                      4
Case 0:18-cv-60691-AOV Document 44 Entered on FLSD Docket 10/29/2018 Page 5 of 6



         Movant’s Statement of Material Facts

         1. Blackacre is a vacant property located at 123 Main Street. Exhibit A ¶ 1.

         2. John Smith owns Blackacre. Exhibit B ¶ 12.

         Respondent’s Opposing Statement of Material Facts

         1. Blackacre is a vacant property located at 123 Main Street. Exhibit A ¶ 1. Admitted
            that Blackacre is located at 123 Main Street. Exhibit A ¶ 1. Denied that the property
            is vacant. Exhibit C at 5.

         2. John Smith owns Blackacre. Exhibit B ¶ 12. Denied as phrased. Admitted that the
            last recorded deed to Blackacre names John Smith. Exhibit B ¶ 12.

     5. Each exhibit referenced in the response to the motion for summary judgment and/or in

         the opposing statement of material facts must be filed on the docket. Exhibits that have

         already been filed on the docket need not be refiled. If a deposition transcript is relied

         upon, a complete copy must be filed, including all exhibits. Within twenty-four (24)

         hours of filing a response to the motion for summary judgment, the responding party

         shall separately file an index of the cited exhibits that names each exhibit and references

         the docket entry at which that exhibit may be found.

     6. In the event that cross motions for summary judgment are filed, the Court may order the

         parties to submit a consolidated statement of material facts and responses as appropriate.

         If cross motions are anticipated, the parties may jointly move for an order to file

         consolidated statements prior to filing the motions for summary judgment.

         Jury Instructions and Verdict Form. The parties shall submit their proposed jury

  instructions and verdict form jointly, although they need not agree on each proposed instruction.

  Where the parties do not agree on a proposed instruction, that instruction shall be set forth in

  bold type. Instructions proposed only by a plaintiff shall be underlined. Instructions proposed

  only by a defendant shall be italicized. Every instruction must be supported by citation to

                                                  5
Case 0:18-cv-60691-AOV Document 44 Entered on FLSD Docket 10/29/2018 Page 6 of 6



  authority. The parties shall use as a guide the Eleventh Circuit Pattern Jury Instructions for Civil

  Cases, including the directions to counsel contained therein. Proposed jury instructions and

  verdict form, in typed form, including substantive charges and defenses, shall be submitted to the

  Court prior to calendar call, in Word format, via e-mail to valle@flsd.uscourts.gov. Instructions

  for filing proposed documents may be viewed at http://www.flsd.uscourts.gov.

         Trial Exhibits. All trial exhibits must be pre-marked. Plaintiff’s exhibits must be

  marked numerically with the letter “P” as a prefix. Defendant’s exhibits must be marked

  numerically with the letter “D” as a prefix. A list setting out all exhibits must be submitted at the

  time of trial. This exhibit list must indicate the pre-marked identification label (e.g., P-1, or D-1)

  and must also include a brief description of the exhibit.

         Deposition Designations.         Any party intending to use deposition testimony as

  substantive evidence must designate by line and page reference those portions in writing. The

  designations must be served on opposing counsel and filed with the Court 14 days before the

  deadline to file the joint pretrial stipulation. The adverse party must serve and file any objections

  and cross-designations within seven days. The initial party then has seven days to serve and file

  objections to the cross-designations.

         Settlement.      If this matter is settled, counsel shall inform the Court promptly via

  telephone (954-769-5750) and/or e-mail (valle@flsd.uscourts.gov).

         DONE AND ORDERED in Chambers at Fort Lauderdale, Florida on October 29, 2018.



                                                         ___________________________________
                                                         ALICIA O. VALLE
                                                         UNITED STATES MAGISTRATE JUDGE


  cc: Counsel of record

                                                    6
